
ROGER C. BERNHAMMER , of RINGWOOD , who was admitted to the bar of this State in 1996, and who has been temporarily suspended from the practice of law since February 12, 2014, having tendered his consent to disbarment as an attorney at law of the State of New Jersey, and good cause appearing;
It is ORDERED that ROGER C. BERNHAMMER is disbarred by consent, effective immediately; and it is further
ORDERED that respondent's name be stricken from the roll of attorneys and that he be permanently restrained and enjoined from practicing law; and it is further
ORDERED that respondent comply with Rule 1:20-20 dealing with disbarred attorneys; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual *329expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
